
548 S.E.2d 734 (2001)
353 N.C. 456
Wendell Justin WILLIAMSON
v.
Myron B. LIPTZIN, M.D.
No. 50P01.
Supreme Court of North Carolina.
May 3, 2001.
Seth R. Cohen, Greensboro, L.G. Gordon, Jr., Winston-Salem, for Williamson.
Bruce W. Berger, Raleigh, James G. Exum, Jr., Greensboro, for Liptzin.
Noah H. Huffstetler, III, Raleigh, for N.C. Psychiatric Assoc. et al.
Prior report: 141 N.C.App. 1, 539 S.E.2d 313.

ORDER
Upon consideration of the petition filed by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd day of May 2001."
